
                UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                    FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT
                                         

No. 93-1898

                        UNITED STATES,

                          Appellee,

                              v.

                      MICHAEL B. LONDON,

                    Defendant, Appellant.

                                         

         APPEAL FROM THE UNITED STATES DISTRICT COURT

              FOR THE DISTRICT OF MASSACHUSETTS

           [Hon. Mark L. Wolf, U.S. District Judge]
                                                              

                                         

                            Before

                      Cyr, Circuit Judge,
                                                    
                Coffin, Senior Circuit Judge,
                                                        
              and Bownes, Senior Circuit Judge.
                                                          

                                         

Henry D. Katz for appellant.
                         
Nina  S. Goodman,  Attorney, with  whom, David  S. Kris, Attorney,
                                                                   
Department of Justice, Criminal Division, Appellate Section, Donald K.
                                                                              
Stern, United  States Attorney,  Dina M. Chaitowitz,  Assistant United
                                                           
States  Attorney,   and  Michael  Kendall,   Assistant  United  States
                                                 
Attorney,  were on brief for appellee.

                                         

                      September 18, 1995
                                         


          BOWNES, Senior  Circuit Judge.  After  a trial that
                      BOWNES, Senior  Circuit Judge.
                                                   

spanned the  better  part of  two  months, a  jury  convicted

defendant-appellant  Michael  B.   London  of  conspiring  to

conduct and actually conducting  the affairs of an enterprise

through a pattern of racketeering activity ("RICO conspiracy"

and "RICO  substantive"), money  laundering, failing  to file

currency transaction reports  ("CTRs"), conspiring to  commit

extortion, and aiding and  abetting extortion.  Subsequent to

the jury  verdict, London also pleaded guilty to tax evasion.

For  his   crimes,  London  was  sentenced   to  188  months'

imprisonment and fined  $500,000.  In addition, he  agreed to

forfeit $865,000.

          In  this appeal, London challenges his convictions,

arguing that the  district court  erred:  (1)  in failing  to

suppress  certain  evidence   relevant  to   his  counts   of

conviction; (2) in  instructing the jury on the law regarding

failure to file CTRs; and (3) in  failing to grant his motion

for  a judgment of acquittal on the money laundering and RICO

counts.   After carefully considering the parties' arguments,

we affirm.

                              I.
                                          I.
                                            

A.  Factual Background
            A.  Factual Background
                                  

          London operated Heller's Cafe ("Heller's), a bar in

Chelsea, Massachusetts.  He also ran a check-cashing service,

known as M  &amp;amp; L Associates ("M &amp;amp; L"), out of a small enclosed

                             -2-
                                          2


area  in the bar.  M  &amp;amp; L charged its customers  a 1% or 1.5%

commission on each check cashed.  Both Heller's and M &amp;amp; L had

at least one employee other than London.

          The  evidence at trial demonstrated that bookmakers

tended to  frequent Heller's and  to use  M &amp;amp; L  as a  check-

cashing service.   Sometimes, M  &amp;amp; L cashed  bookmaker checks

that banks would not  accept.  For example, some  checks were

neither  made  out  by  nor  payable  to the  bookmakers  (or

bookmakers' agents)  who were cashing them.  Others were made

out either to fictitious names or to real persons or entities

who  were not  to receive  the funds.   London  neither asked

about the names on the checks he cashed nor required that the

checks be  endorsed.  And before December 17, 1986 -- the day

on  which  federal  agents   executed  a  search  warrant  at

Heller's,  see infra  at  6  --  London  never  filed  a  CTR
                                

notifying the  Internal Revenue  Service ("IRS") of  his many

currency transactions  involving more  than $10,000.   See 31
                                                                      

U.S.C.    5313(a) (requiring financial institutions to report

currency  transactions   in  the  manner  prescribed  by  the

Secretary  of  the Treasury)  and  31  C.F.R.    103.11(i)(3)
                                             

(check-casher  is a  financial institution)  and 31  C.F.R.  
                                                            

103.22(a)(1) (financial institutions must report all currency

transactions involving more than $10,000 to the IRS). 

          London's operating  procedures were a  boon to  his

bookmaker  customers.   Not  only  did  London provide  these

                             -3-
                                          3


customers with an immediate and untraceable source of cash to

pay their various expenses (including gamblers' winnings), he

enabled  them  to accept  checks  from  their own  customers.

This, in turn, increased business volume, for the ability  to

pay  gambling  debts by  check  encouraged  gamblers to  make

larger and more  frequent bets.  It  also made it easier  for

out-of-state gamblers  to do business with  local bookmakers,

and possible  for  some gamblers  to pay  debts with  company

funds  (and thereby gamble with  money on which  they paid no

taxes).

          London's  promotion of bookmaking often took a more

active form.  In 1986, London operated a bookmaking operation

with  one Kenny  Miller.   He  also  helped run  one  Dominic

Isabella's  bookmaking  operation  while  Isabella  was  ill.

Finally, London acted as a "pay and collect" man for  many of

his bookmaker customers, making payments to  winning gamblers

and collecting payments from losers.

          London also assisted Vincent Ferrara, the leader of

an  organized   crime  group,  in  collecting  "rent"  (i.e.,

protection money) from bookmakers.  London identified certain

of his bookmaker customers to Ferrara, telling him "anybody I

get  you  get."    London  then  summoned  the  bookmakers to

Heller's to meet with Ferrara, who demanded that they pay him

anywhere  from  $500  to  $1000  (or  more)  per   month  for

"protection" and  help in debt collection.   London collected

                             -4-
                                          4


rent  payments and, at least once, passed along a request for

debt  collection assistance  from  a bookmaker  who had  been

induced to accept Ferrara's protection.

          As stated above, London never filed a CTR with  the

IRS  prior  to  the  execution   of  the  search  warrant  on

December 17,  1986.     From   December  18,   1986,  through

December 31, 1988, however, he filed 211 CTR's on behalf of M

&amp;amp;  L.  Although London  had instructed his  customers to make

certain that each check was for less than $10,000, London did

cash  individual checks  that  were in  amounts greater  than

$10,000.   When  he cashed  a group  of checks  for the  same

customer, London would often  deposit the checks on different

days or in  different bank accounts.   There was  testimonial

evidence tending  to indicate  that London  was aware  of the

statutory  and regulatory  reporting requirements  during the

period in which he failed to file any CTRs with the IRS.

B.  Procedural History
            B.  Procedural History
                                  

          On October 28, 1986,  in response to an application

and affidavit  made pursuant to an  on-going investigation of

London,  his businesses,  and  his  associates, the  district

court issued two orders authorizing the government to conduct

electronic  surveillance  at  Heller's.     The  first  order

authorized, for a thirty-day period, the interception of oral

communications in and adjacent to the enclosed area  in which

M  &amp;amp; L operated; the second authorized, also for a thirty-day

                             -5-
                                          5


period, the  recording of  wire communications made  from two

telephones  located behind the bar.  In order to minimize the

interception  of otherwise  non-interceptable communications,

the court's  orders limited surveillance to  times when named

targets of the  investigation were on Heller's  premises.  On

December 3, 1986, the  court extended each of the  orders for

an  additional  thirty days.    Evidence  derived from  these

interceptions was introduced against London at trial.

          On December  17, 1986, federal agents  applied to a

magistrate  judge for  a warrant  authorizing them  to search

Heller's for  evidence  of unlawful  gambling,  loansharking,

distribution of narcotics, money  laundering, and failure  to

file  CTRs.    The   magistrate  judge  issued  the  warrant,

authorizing  the  agents  to  search  "Heller's  Cafe,  which

occupies the first floor and basement of 110 Chestnut Street"

and to  seize  "books and  records, ledgers,  correspondence,

notes, slips, checks and  any other documents, including bank

records,  which  reflect  unlawful   gambling,  loansharking,

narcotics   distribution,  and   failure  to   file  currency

transaction  reports;  and  U.S.  currency  which constitutes

proceeds of these offenses."  The agents executed the warrant

later that day,  and seized,  inter alia, almost  all of  the
                                                    

records found in the enclosed area from which M &amp;amp; L operated.

Evidence  seized in the course of  this search was introduced

against London at trial.

                             -6-
                                          6


          On April 11, 1990, a federal  grand jury returned a

two-count indictment charging London with income tax evasion.

On  May 10, 1990, the  grand jury returned  a fifty-one count

superseding  indictment charging London with, inter alia, the
                                                                    

counts  of conviction:    one count  of  RICO conspiracy,  18

U.S.C.    1962(d); one count of RICO substantive, 18 U.S.C.  

1962(c);  twelve  counts of  money  laundering,  18 U.S.C.   

1956(a)(1); twelve counts of failing to file  CTRs, 31 U.S.C.

    5313(a) and  5322(b); one  count of conspiring  to commit

extortion,  18  U.S.C.     1951;  two counts  of  aiding  and

abetting extortion, 18 U.S.C.    2 and 1951; and one count of

tax evasion  for  tax  year  1985, 26  U.S.C.     7201.    On

September  5,   1991,  the  grand  jury   returned  a  second

superseding  indictment which  charged  no  new offenses  but

brought  the  indictment within  the  purview  of the  United

States Sentencing  Guidelines by extending the  period of the

alleged RICO conspiracy to after November 1987.

          On August  17,  1992,  the  district  court  orally

denied  London's  previously-filed  motion  to  suppress  the

evidence  seized  during the  December  17,  1986, search  of

Heller's.  On  August 18,  1992, the court  issued a  written

memorandum and order denying London's previously-filed motion

to suppress the fruits of the electronic surveillance.

          Trial commenced  on January 4,  1993, and concluded

on February 19,  1993, when the jury returned guilty verdicts

                             -7-
                                          7


on the counts of  conviction listed above.  The  other counts

contained in  the  second superseding  indictment either  had

been  dismissed by  the  government prior  to  trial or  were

dismissed by the district  court at trial.  In  addition, the

jury acquitted London on one money laundering count.  On June

30,  1993, the district court sentenced  London.  This appeal

followed.

                             II.
                                         II.
                                            

          As  set forth  above, London's  appellate arguments

fall  into three main groups.  First, London takes issue with

the district  court's  denial  of  his  suppression  motions.

Second,  London  challenges  the jury  instructions  given in

connection  with   the  counts  of  the   second  superseding

indictment charging  him with failing  to file CTRs.   Third,

London  makes  sundry arguments  that there  was insufficient

evidence  to   support   his  money   laundering   and   RICO

convictions.  We discuss each of London's arguments in turn.

A.   Denial  of the  Motion  to Suppress  the  Fruits of  the
            A.   Denial  of the  Motion  to Suppress  the  Fruits of  the
                                                                         
Electronic Surveillance
            Electronic Surveillance
                                   

          London  contends that the  district court  erred in

denying  his motion to suppress  the fruits of the electronic

surveillance conducted at Heller's in  1986.  He claims  that

the aforementioned surveillance ran afoul of Title III of the

Omnibus Crime Control and Safe Streets Act of 1968, 18 U.S.C.

   2510 et  seq. ("Title  III") -- the  federal statute  that
                            

governs  electronic surveillance  -- in  five ways:   (1)  no

                             -8-
                                          8


Department  of Justice  official  designated in  18 U.S.C.   

2516(1) had  authorized the  local United States  Attorney to

apply  for the  initial interception  orders; (2)  the orders

improperly  allowed the  government to  monitor conversations

relating to  money laundering, which  was not an  offense for

which  interception  could  be   ordered,  see  18  U.S.C.   
                                                          

2516(1)(a)-(o), on  the date the interception  orders issued;

(3)  the  government  intercepted  and  disclosed  extortion-

related  conversations  --  conversations pertaining  to  the

paying  of "rent"  to  Ferrara --  beyond  the scope  of  the

court's  orders; (4)  the  court ordered  and the  government

employed inadequate minimization procedures under 18 U.S.C.  

2518(5);  and (5)  the  government's  application misled  the

district court as to  the necessity for conducting electronic

surveillance,  in  violation  of  18   U.S.C.     2518(1)(c).

Because  we are not persuaded  by any of  these arguments, we

affirm the district court's denial of the suppression motion.

          1.    Internal  Authorization  under  18  U.S.C.   
                      1.    Internal  Authorization  under  18  U.S.C.   
                                                                         

2516(1)
            2516(1)
                   

          Title  III  compels  local  prosecutors  to  obtain

internal authorization from a  statutorily-designated Justice

Department   official  prior  to   applying  for  a  judicial

interception  order.  18 U.S.C.   2516(1).  Failure to comply

with   this  "central"   provision  of  Title   III  requires

                             -9-
                                          9


suppression of the  fruits of the unauthorized  interception.

United States v. Giordano,  416 U.S. 505, 524-29 (1974).   As
                                     

noted,   London  contends   that  the   initial  interception

application  was not  authorized by  a statutorily-designated

Justice Department official.  London is mistaken.  

          The government attached to its initial interception

application  the  first  page  of  a  two-page  authorization

memorandum prepared on October 24, 1986, by  William F. Weld,

then the Justice Department's Assistant Attorney  General for

the  Criminal  Division, and  the  second page  of  the cover

letter which  accompanied  the  Weld  memorandum,  which  was

signed   for  Weld   by  Frederick   D.  Hess,   the  Justice

Department's Director of the Office of Enforcement Operations

of the Criminal  Division.  It is undisputed that  Weld was a

statutorily-designated  official  and  Hess  was   not.    In

rejecting  London's  suppression motion,  the  district court

found that  Weld had authorized  the interception application

(as  the application  had  stated) and  that "the  government

committed a collating error by providing page one of the Weld

approval letter  followed by  page two of  a separate  letter

written  by Hess  to Robert  S. Mueller,  III, Acting  United

States Attorney for the District of Massachusetts."

          London  does  not  dispute  the  accuracy   of  the

district  court's  "collating  error"  finding;  nor  does he

disagree that  the finding would validate  the application if

                             -10-
                                          10


the district court was  empowered to look beyond the  face of

the  application in  deciding whether  there had  been proper

authorization.  Relying on United  States v. Chavez, 416 U.S.
                                                               

562 (1974), and United  States v. O'Malley, 764 F.2d  38 (1st
                                                      

Cir. 1985),  he instead argues  that the finding  cannot save

the government's  application because the district  court was

limited  to  a  "facial  analysis" of  the  authorization  in

determining  whether  a  statutorily-designated official  had

approved   the  interception  application.     Even   if  his

construction of Chavez and  O'Malley is correct (an  issue on
                                                

which we  express significant  doubt but no  formal opinion),

the facial analysis London advocates reveals that Weld -- and

not Hess -- authorized the interception application.

          London's argument hinges entirely  on the fact that

Hess  signed on  behalf  of  Weld  the  second  page  of  the

miscollated authorizing  papers  that were  attached  to  the

interception  application.   What  it neglects  to take  into

account, however, is that  Weld signed the first page,  which
                                           

states at the top  that it is a  memorandum from "William  F.

Weld,   Assistant   Attorney  General,   Criminal  Division."

Furthermore, that same first  page clearly indicates that the

Assistant Attorney General in charge of the Criminal Division

(i.e., Weld) authorized the application:

               By virtue of the authority vested in
          him by  Section 2516 of Title  18, United
          States  Code, the Attorney General of the
          United States  has by Order  Number 1088-

                             -11-
                                          11


          85,  dated  March  28,   1985,  specially
          designated the Assistant Attorney General
          in charge  of  the Criminal  Division  to
          authorize  applications for  court orders
          authorizing the interception  of wire  or
          oral   communication.      As  the   duly
          appointed  Assistant Attorney  General in
          charge  of  the  Criminal Division,  this
          power  is exercisable by  me.  WHEREFORE,
          acting  under  this  delegated  power,  I
          hereby   authorize  the   above-described
          [London]  application to  be made  by any
          investigative or  law enforcement officer
          of  the  United   States  as  defined  in
          Section  2510(7)  of  Title   18,  United
          States Code.

Finally, nothing in  the text  of either page  of the  papers

presented to  the district court even  remotely suggests that

Hess, and not Weld, authorized the application.  

          We  therefore  reject  London's  argument  that the

initial  interception application  was  not authorized  by  a

statutorily-designated Justice Department official.

          2.  Interception of Conversations Relating to
                      2.  Interception of Conversations Relating to
                                                                   
          Money Laundering
                      Money Laundering
                                      

          Title  III  specifies  the  offenses  for  which an

interception order  may issue.   18 U.S.C.    2516(1)(a)-(o).

Money  laundering in  violation of  18 U.S.C.    1956  was so

specified by  legislation that  became effective  October 27,

1986.  Pub. L. 99-570, Title I,   1365(c), Oct. 27, 1986, 100

Stat. 3207-35.   As  noted,  London argues  that the  initial

interception   orders   authorized   the    interception   of

conversations relating to money  laundering prior to the date

on  which money laundering was added to 18 U.S.C.   2516(1)'s

                             -12-
                                          12


list  of offenses.    Even if  we  assume arguendo  that  the
                                                              

initial interception orders did authorize the interception of

conversations relating to money laundering in violation of 18

U.S.C.      1956  (a  position  with   which  the  government

forcefully  disagrees  and on  which  we  take no  position),

London's argument lacks a factual basis.

           London  claims that  the district  court's initial

interception orders  issued on  October 24, 1986,  three days

before money  laundering became a predicate  offense under 18

U.S.C.     2516(1).   The record  reveals, however,  that the

initial interception  orders issued on October  28, 1986, not

October  24, 1986.  Thus, money laundering in violation of 18

U.S.C.    1956 was an offense for which an interception order
                              

could issue  at the time  of the initial  interception orders

issued in this case.

          We  therefore reject  London's  argument  that  the

initial  interception orders  authorized the  interception of

conversations  relating to  money laundering  at a  time when

money laundering was not a predicate  offense under 18 U.S.C.

  2516(1).

          3.    Interception  and  Disclosure  of  Extortion-
                      3.    Interception  and  Disclosure  of  Extortion-
                                                                         

Related
            Related
                   
          Conversations
                      Conversations
                                   

          With  certain exceptions,  Title III  prohibits the

interception and disclosure of conversations other than those

relating to  the offenses  specified in the  district court's

                             -13-
                                          13


interception order.  See  generally 18 U.S.C.     2511, 2517,
                                               

and  2518(4)(c).  As noted, London argues that the government

wrongfully  intercepted  and  disclosed   certain  extortion-

related  conversations  (i.e.,  conversations concerning  the

paying  of  "rent" to  Ferrara)  despite  the fact  that  the

district court's initial interception  orders did not specify

extortion  in violation  of  18 U.S.C.     1951 as  a  target

offense.  London's claim of governmental overreaching in this

context is without merit.

          Unlike  London's first  two arguments,  the instant

one  is not built upon  a faulty factual  basis; extortion in

violation of 18 U.S.C.   1951 was not a target offense listed

in the government's interception applications or the district

court's interception  orders.  This fact  alone, though, does

not  make  the  interception  of   the  "rent"  conversations

unlawful.     Title   III  clearly   contemplates  that   law

enforcement  officials will,  in  the course  of intercepting

conversations related to specified target offenses, intercept

conversations   "relating  to   offenses  other   than  those

specified in the order of authorization or approval."  See 18
                                                                      

U.S.C.    2517(5).  For example,  an intercepted conversation

can  relate to both a specified offense and to an unspecified
                                                       

offense.  In  such a situation, the  interception is unlawful

only  when it  is motivated  by an  illicit purpose  -- e.g.,

"subterfuge"  interceptions where  the government  applies to

                             -14-
                                          14


intercept conversations relating to offenses  specified in 18

U.S.C.       2516(a)-(o)   while   intending   to   intercept

conversations  relating to  offenses for  which interceptions

are unauthorized or  for which  it has no  probable cause  to

obtain an interception order.   See United States v. Angiulo,
                                                                        

847 F.2d 956,980 (1st Cir.), cert.denied, 488 U.S. 852(1988).
                                                    

           Here, the intercepted "rent" conversations clearly

related to  at  least one  offense  -- operating  a  gambling

business in violation of 18 U.S.C.   1955 -- specified in the

initial   authorization  orders.      The  victims   of   the

rent/extortion scheme  were  bookmakers involved  in  illegal

gambling, and  the intercepted conversations provided a means

of   identifying  them.     Moreover,   the  district   court

supportably found  that there  was no subterfuge  involved in

the initial interception applications.  See Angiulo, 847 F.2d
                                                               

at 980 (clear-error reviewing standard applicable  to finding

that  government's wiretap  application was  not subterfuge).

Extortion,  after  all, is  an  enumerated  offense under  18

U.S.C.    2516, and  there would  have been  no need for  the

government to  engage in subterfuge unless  it suspected that

extortion  was taking  place  but lacked  the probable  cause

necessary to intercept conversations pertaining to extortion.

London makes  no argument along  these lines, and  the record

does not  suggest this sort  of governmental deception.   The

                             -15-
                                          15


government's  interception  of the  "rent"  conversations was

therefore not unlawful.

          We still must consider whether the government acted

unlawfully  in disclosing  the rent conversations  during the

proceedings below.  The government argues that the disclosure

of such  "other offense" evidence  is permissible so  long as

the information  is  related  to an  offense  listed  in  the

initial authorization orders.   Cf. United States v. Shields,
                                                                        

999 F.2d  1090, 1097 (7th  Cir. 1993) ("Since  the government

was free to release  this information to a grand  jury anyway

under the [authorization for the offenses listed in the Title

III  order], it is difficult  to see how  the defendants were

harmed when the same  facts were presented in the  context of

different offenses."),  cert. denied, 115 S.  Ct. 515 (1994).
                                                

We  need not  reach  the merits  of  this argument,  however,

because we conclude  that the district  judge who issued  the

initial   interception   orders  impliedly   and  permissibly

authorized the disclosure of the conversations at issue.

          Under  18 U.S.C.     2517(5),  the  government  may

secure  a court's  blessing to  disclose  the contents  of an

"other  offense" interception  in connection  with a  federal

prosecution.     The  relevant  statutory  provision  permits

disclosure when  the  interception has  been  "authorized  or

approved  by a  judge  of competent  jurisdiction where  such

judge finds on subsequent  application that the contents were

                             -16-
                                          16


otherwise intercepted in  accordance with  the provisions  of

[Title  III].   Such  application shall  be  made as  soon as

practicable."     Id.     It   is  settled   that  disclosure
                                 

authorization "can be implicitly obtained when a judge grants

a renewal of a  wiretap after being advised of  the essential

facts  of  the  unspecified  violation."   United  States  v.
                                                                     

McKinnon,  721  F.2d 19,  23-24 (1st  Cir.  1983).   In other
                    

words,  "the  disclosure  in  subsequent  affidavits  to  the

issuing  judge  of  material  facts  constituting or  clearly

relating  to  other   offenses  satisfies  the   Government's

obligation  to seek judicial authorization for the disclosure

and use  of evidence inadvertently  intercepted."  Id.  at 24                                                                  

(citations and internal quotation marks omitted).

          As  the district  court found  in denying  London's

suppression motion, there was implicit  authorization in this

case.   When  the government  applied for  extensions  of the

initial  interception orders, its  attached affidavit advised

the court of interceptions  containing the essential facts of

the extortion violations:

          London acts as a  bank and account keeper
          for  other  bookmaking  and  loansharking
          operations  .  .   .  .   [Also] London's
          illegal   businesses,  and   the  illegal
          businesses  for  which  London keeps  the
          accounts, only operate  with the  consent
          and protection of certain  other persons,
          to   whom   London  and   others   pay  a
          percentage  of  their  income  .  .  .  .
          Further   electronic    surveillance   is
          necessary,   however,  to   identify  the
          balance   of   the   members    of   each

                             -17-
                                          17


          organization and the relationship between
          London,  these   organizations,  and  the
          persons  to  whom  `rent'  is   paid,  as
          discussed below.

The  attached affidavit  then detailed  London's relationship

with Ferrara.   Thus, the  court's approval of  the extension

application constituted  both  an implicit  finding that  the

extortion-related    conversations   were    intercepted   in

accordance with  the provisions  of Title III  and permission

for  the subsequent  disclosure  of the  conversations.   See
                                                                         

McKinnon, 721 F.2d at 23-24.
                    

          London complains that the affidavit not only failed

to seek approval  for subsequent interceptions of  extortion-

related conversations, but it also failed to  alert the court

that some of the  intercepted conversations related to "other

offense"  evidence.   While we  certainly think  it advisable

that  the government provide issuing courts with this type of

notice, we  note that it  is not a  sine qua non  of implicit
                                                            

authorization.  We presume that the court read the supporting

affidavit  with care,  and took  seriously its  obligation to

police the interceptions that were taking place.   We require

no  more  to infer  implicit authorization.    Cf. id.  at 23                                                                  

(supporting affidavits describing  communications related  to

other  offenses  sufficient  to  ground  "reasonable  .  .  .

conclu[sion]"   that  issuing   judge   approved   of   their

interception);  see also  United States  v. Masciarelli,  558
                                                                   

F.2d 1064, 1068  (2d Cir. 1977) ("[W]e presume .  . . that in

                             -18-
                                          18


renewing  . . . the tap the judge carefully scrutinized th[e]

supporting  papers   and   determined  that   the   statute's

requirements  had been  satisfied.")  (citation and  internal

quotation marks omitted).

          We  therefore  reject  London's  argument  that the

interception   and   disclosure   of  the   extortion-related

conversations violated Title III.

                             -19-
                                          19


          4.  Minimization under 18 U.S.C.   2518(5)
                      4.  Minimization under 18 U.S.C.   2518(5)
                                                                

          Title  III  requires  the  government   to  conduct

electronic surveillance  "in such  a way  as to  minimize the

interception  of  communications  not  otherwise  subject  to

interception."  18 U.S.C.    2518(5).  Without specifying any

wrongfully  intercepted  conversations,  London asserts  that

there  was  inadequate governmental  minimization  during the

interceptions  at  Heller's.   Although London's  argument on

this  issue is  a  bit disjointed,  two alleged  inadequacies

emerge  from  his brief:   (1)  the court's  order permitting

surveillance whenever a named target was on Heller's premises

(instead  of   a  more   restrictive  order);  and   (2)  the

government's  policy of  recording all  conversations carried

out  in  Spanish  unless  and until  a  bilingual  agent  was

available   to   make  minimization   decisions.      In  the

circumstances of this  case, we  see no error  in either  the

court's   order   or   the   government's   policy  regarding

communications in Spanish.

          In assessing whether the  government's minimization

efforts pass muster  under 18  U.S.C.   2518(5),  we make  an

objective assessment in light  of the facts and circumstances

known to the government at the  relevant points in time.  See
                                                                         

Scott  v. United States, 436  U.S. 128, 136-37  (1978).  When
                                   

making  this assessment, we tend  to focus on  (1) the nature

and complexity of the  suspected crimes; (2) the thoroughness

                             -20-
                                          20


of the government's precautions to  bring about minimization;

and  (3)   the  degree  of  judicial   supervision  over  the

surveillance process.  United States  v. Uribe, 890 F.2d 554,
                                                          

557  (1st Cir. 1989); Angiulo, 847 F.2d  at 979.  We also are
                                         

mindful that Title  III "does not forbid  the interception of

all  nonrelevant  conversations,  but  rather  instructs  the

agents to conduct  the surveillance  in such a  manner as  to

`minimize' the interception  of such conversations."   Scott,
                                                                        

436 U.S. at 140.   This means that "[t]he government is  held

to a standard  of honest  effort; perfection  is usually  not

attainable, and  is certainly not legally  required."  Uribe,
                                                                        

890 F.2d at 557.

          London's  minimization arguments  do not  call into

question  any  specified  acts of  the  intercepting  agents;

instead, they  implicate the  thoroughness of certain  of the

court's and government's minimization precautions.   In other

words,  they amount  to claims  that an  implicit requirement

allegedly imposed on the  government by Uribe and Angiulo  --
                                                                     

that the government's precautions to bring about minimization
                                             

be sufficiently "thorough"  to pass muster under 18  U.S.C.  

2518(5)   --  has  not  been  met  in  this  case,  and  that

suppression   of   all  intercepted   conversations   is  the

appropriate remedy.   Even if we assume  arguendo that London
                                                             

can win  total suppression without  challenging the propriety

                             -21-
                                          21


of  any  particular interceptions,  we  see no  merit  in his

arguments.  

          London  characterizes  as insufficient  the court's

"targeted individual must be on the premises" limitation by 

                             -22-
                                          22


stating:

          Perhaps, an undercover agent acting  as a
          patron, could [have]  signal[led] when  a
          target  was  talking   on  a   particular
          telephone  or near  one of  the bugs  and
          thereby  minimize[d]  the intrusion  into
          the    privacy   of    innocent   persons
          conversing at other  locations.   Perhaps
          monitoring   agents   could   have   been
          directed  to  cease  monitoring   at  any
          device  when a  target  was not  heard on
          that device.

He has not,  however, effectively  rebutted the  government's

colorful assertion,  made both to  the district court  and on

appeal,  that "had  an undercover  agent remained  inside the

small, intimate .  . . Heller's Cafe to relay  a signal every

time a target spoke into  a surveillance device, London would

have identified  him as quickly as Ali Baba in his cave would

have  spotted a  spy among  his chosen  forty."   Nor has  he

rebutted the government's  sworn assertion that "agents  were

instructed to  and did cease monitoring  when they determined

that none of the  targets was a party to [a]  conversation or

that only personal, non-criminal activity was discussed."  In

our view, the former of these two assertions is sufficient to

respond to London's  argument that there should have  been an

undercover agent inside Heller's,  and the latter effectively

undermines  any  suggestion that  the monitoring  agents were

free  to  listen  in  on the  conversations  of  non-targeted

individuals.

                             -23-
                                          23


          London's  challenge  to  the   government's  policy

regarding  Spanish  conversations  is  answered  more easily:

when an  interpreter is  not reasonably available,  Title III

explicitly   allows   full-scale  recording   and   post  hoc
                                                                         

minimization   of  conversations   carried  out   in  foreign

languages.   See  18  U.S.C.    2518(5)  ("In the  event  the
                            

intercepted communication  is in a code  or foreign language,

and  an  expert  in that  foreign  language  or  code is  not

reasonably   available   during   the  interception   period,

minimization may be accomplished as soon as practicable after

such  interception.").   Although the  above-quoted statutory

provision  was  not   yet  effective  at  the   time  of  the

interceptions  here  at issue  (it  was passed  prior  to the

interceptions but went into effect thereafter), its existence

as  pending legislation  renders  objectively reasonable  the

government's  policy  --  which  tracked  the legislation  --

regarding intercepted conversations carried out in Spanish.

          This was a  complex case involving  a sophisticated

defendant,  complicated  financial  dealings,  and  links  to

organized crime.  In view of this, we  cannot say that either

the  complained-of  minimization  precautions  or  the  other

minimization precautions  ordered by  the court and  taken by

the  government were  so  lacking in  thoroughness that  they

violated Title III. 

                             -24-
                                          24


          We    therefore   reject    London's   minimization

arguments.

          5.  Necessity under 18 U.S.C.   2518(1)(c)
                      5.  Necessity under 18 U.S.C.   2518(1)(c)
                                                                

          Title   III   dictates   that    the   government's

interception   application  include  "a   full  and  complete

statement as to whether or not other investigative procedures

have been tried and  failed or why they reasonably  appear to

be unlikely  to succeed if tried or to be too dangerous."  18

U.S.C.    2518(1)(c).   We have interpreted  this "necessity"

provision to mean that  the statement should demonstrate that

the government has  made "a reasonable, good faith  effort to

run  the gamut  of  normal  investigative  procedures  before

resorting to means so intrusive as electronic interception of

telephone calls."   United States v. Hoffman,  832 F.2d 1299,
                                                        

1306-07 (1st Cir. 1987).  London argues that the government's

application misled the  court as to  the need for  electronic

surveillance by  failing to  mention that the  government had

not engaged  in the following investigative  techniques:  (1)

subpoenaing   London's  bank   records;  (2)   utilizing  two

confidential informants -- Francis  McIntyre and John DeMarco

--  allegedly available  to  it; and  (3) placing  undercover

agents  inside   of  Heller's.    London's   claims  are  not

convincing.

          The  first   and  third  of   London's  claims  are

difficult  to  fathom,  as  the  affidavit  attached  to  the

                             -25-
                                          25


interception application indicated  both that the  government

did  review  London's  bank  records  (during   an  unrelated
               

investigation) prior to applying for the interception  orders

and  that undercover  infiltration was not  available because

"surveillance observations  have disclosed  a high degree  of

consciousness by London and others to the possibility  of law

enforcement scrutiny" and because  London "requires two known

references prior  to engaging in illegal  transactions with a

person."   Other  than  making the  general and  unpersuasive

argument that "visual surveillance by undercover agents"  was
                                                                         

possible because Heller's "was fully accessible to the public

eye" and had no "back rooms," London has not taken issue with

the  affidavit statements.   See  supra at  21 (noting,  in a
                                                   

different context, London's failure to rebut the government's

explanation  why   undercover  agents  could   not  insinuate

themselves  into  Heller's).     And  he  certainly  has  not

explained how  the affidavit statements  themselves may  have

been misleading.   We consequently  see no factual  basis for

London's first and third claims. 

          As to  the claim  that the  government misleadingly

failed to  disclose the availability of  McIntyre and DeMarco

as  informants, London  has not even  attempted to  rebut, by

pointing to contrary evidence, the district  court's findings

that, at the time of the initial application,  the government

reasonably believed  (1)  that  McIntyre  would  not  testify

                             -26-
                                          26


against  London;  and   (2)  that  DeMarco's   "investigatory

potential  . .  . [was]  immaterial  to the  investigation at

Heller's."   In  light  of this,  we  cannot say  that  these

findings  are  clearly  erroneous.    See  United  States  v.
                                                                     

Schiavo, 29 F.3d  6, 8 (1st Cir. 1994) (findings of fact made
                   

after suppression hearing reviewed for clear error).  And the

findings  plainly  undermine  London's  contention  that  the

failure   to  disclose   McIntyre's  and   DeMarco's  alleged

investigatory potential violated 18 U.S.C.   2815(1)(c).

          We  therefore reject  London's  argument  that  the

government  misled the  district court  as to  necessity when

applying for the initial interception orders.

B.   Denial  of the  Motion to  Suppress the  Evidence Seized
            B.   Denial  of the  Motion to  Suppress the  Evidence Seized
                                                                         

During
            During
                  
the December 17, 1986, Search of Heller's
            the December 17, 1986, Search of Heller's
                                                     

          London  argues  that  the district  court  erred in

denying his  motion to suppress the  evidence seized pursuant

to  the December 17, 1986, search of Heller's -- i.e., almost

all  of M&amp;amp;L's  business  records, some  of Heller's  business

records,  and a significant amount of cash on the premises of

Heller's that  day.  He  characterizes as  unconstitutionally

overbroad the  warrant's description  of items to  be seized:

"books  and records,  ledgers, correspondence,  notes, slips,

checks and any other documents, including bank records, which

reflect    unlawful    gambling,   loansharking,    narcotics

distribution,  and  failure   to  file  currency  transaction

                             -27-
                                          27


reports;  and  U.S. currency  which  constitutes  proceeds of

these offenses."    He also  argues  that the  officials  who

executed  the  search  could  not have  held  an  objectively

reasonable belief  that the overbroad language  in the search

warrant  was constitutional.   Because  we disagree  with the

latter of London's two arguments, we repudiate his assignment

of errorwithout assessingthe constitutionality ofthe warrant.

          It is well settled that "suppression is appropriate

only if  the officers were dishonest or reckless in preparing

[the  warrant]  affidavit  or  could  not  have  harbored  an

objectively  reasonable belief  in the existence  of probable

cause."  United  States v.  Leon, 468 U.S.  897, 926  (1984).
                                            

Here,  London  has  not  challenged the  preparation  of  the

warrant  affidavit, identified any  documents which allegedly

were  seized  without  probable  cause, or  argued  that  the

executing agents exceeded  the warrant's scope.   Nor has  he

asserted that there was an absence of probable cause for some
                                                                         

sort  of warrant  to  have issued.    Assuming arguendo  that
                                                                   

London might still be  entitled to suppression without having

made any of  these arguments, our inquiry reduces  to whether

the  description  of  items  to be  seized  was  so  facially

defective that an  objectively reasonable officer would  have

known of the warrant's  unconstitutionality.  We hardly think

so.

                             -28-
                                          28


          Even if the description of items to be seized might

have been more particular, it was not patently overbroad when

viewed  in  context.    London operated  a  complex  criminal

enterprise  where  he   mingled  "innocent"  documents   with

apparently-innocent  documents  which, in  fact, memorialized

illegal   transactions.     London   also  intermingled   his

legitimately-obtained and innocently-obtained  currency.   It

therefore would have been  difficult for the magistrate judge

to be more limiting  in phrasing the warrant's language,  and

for the executing  officers to have  been more discerning  in

determining what to seize.  In similar circumstances, we have

stated: 

          We must . . . recognize that the inherent
          difficulty  in  segregating  "good"  from
          "bad"   records,   and  consequently   in
          drawing up an adequately limited warrant,
          makes it difficult  for even a reasonably
          well-trained officer, who is not expected
          to be a legal technician and  is entitled
          to rely on  the greater sophistication of
          the magistrate -- to know precisely where
          to draw the line.

United  States v.  Diaz,  841  F.2d  1,  6  (1st  Cir.  1988)
                                   

(overturning a suppression order based on an overbroad search

warrant).  Like Diaz, the question whether the description of
                                

items to  be seized was unconstitutionally  overbroad was, at

best,  close,  and  the executing  officers  were objectively

reasonable  in deferring  to the  magistrate judge's  trained

judgment.

                             -29-
                                          29


          We therefore reject London's argument  that all the

evidence  seized  during the  December  17,  1986, search  of

Heller's should have been suppressed.

C.  Jury Instructions Regarding London's Failure to File CTRs
            C.  Jury Instructions Regarding London's Failure to File CTRs
                                                                         

          London argues that we should vacate his convictions

for  failing   to  file  CTRs  because   the  district  court

erroneously informed the jury  that London could be convicted

of the "willful" violation proscribed by 31  U.S.C.   5322(b)

if he had  merely a  reckless disregard of  his legal  duties

regarding  the  filing of  CTRs.   The  government  takes the

position  that  the court's  instructions  were incorrect  in

light  of Ratzlaf  v. United  States, 114  S. Ct.  655 (1994)
                                                

(knowledge of the illegality of one's actions is necessary to

sustain  a  conviction  under  31  U.S.C.     5322)  (illegal

structuring case), an  opinion issued  after London's  trial,

but points to  London's failure to  object and contends  that

the instructions do not constitute plain error  under Fed. R.

Crim. P. 52(b) (defects  not brought to the attention  of the

trial court reviewed for plain error).   London counters that

his failure to  object cannot be considered a  waiver because

the  instructions were  in complete  accord with  an en  banc
                                                                         

decision of this court  -- United States v. Aversa,  984 F.2d
                                                              

493  (1st Cir.  1993) (en  banc) (illegal  structuring case),
                                           

vacated, 114 S. Ct. 873 (1994) -- that had been handed down a
                   

mere one month prior to the jury instructions in this case.  

                             -30-
                                          30


          Before  addressing  the issue  of  waiver,  we must

inquire  whether the present  law of the  circuit precludes a

determination  of  error  even   if  London  has  not  waived

objection to the instructions.  In a recent decision, another

panel of  this court  expressed doubt  as to  whether Ratzlaf
                                                                         

overruled Aversa's alternative  reckless disregard  standard.
                            

See  United States  v. Saccoccia,  Nos. 93-1511/1560-63/1616-
                                            

17/2206-07 and 94-1388/1507-08, slip op. at 27 (1st Cir. July

24, 1995).   But this  comment was only  dictum.  It  was not

necessary  to   the  Saccoccia  panel's   finding  that   the
                                          

instruction   challenged  in   that  case  was   not  plainly
                                                                         

erroneous.  Id.  at 26-27 (noting the  defendant's failure to
                           

object).   Nor  was it implicitly  or explicitly  relied upon

when the panel held  the evidence sufficient for the  jury to

have  found   that  the  defendants  "knew   that  their  own

activities  were  unlawful."   Id.  at 32-33.    The reckless
                                              

disregard standard therefore played  no role in the Saccoccia
                                                                         

court's holding.  We therefore feel that the question whether
                           

Ratzlaf  has  impliedly  left untouched  or  overruled Aversa
                                                                         

remains to be decided--if the issue has not been waived.

          Addressing  the  waiver   issue  we  conclude  that

London's   failure   to  object   was  excusable   under  the

circumstances  of this  case.   The  government argues  that,

despite the  recency of the  Aversa decision and  the overall
                                               

state of the law at the time of his trial,  London has waived

                             -31-
                                          31


any   argument  that  the  aforementioned  instructions  were

erroneous.   While acknowledging  that waiver should  not "be

inferred, and  no plain error requirement  imposed, where [a]

Supreme  Court[] ruling comes out  of the blue  and could not

have been anticipated,"  see United States v.  Weiner, 3 F.3d
                                                                 

17,  24 n.5 (1st Cir. 1993), the government contends that the

split  between  this and  the other  ten  circuits as  to the

meaning of willfulness under 31 U.S.C.   5322 "made it likely

that  the issue would be  resolved by the  Supreme Court" and

made it incumbent upon  London to lodge an objection.   In so

doing, the government relies on our recent decision in United
                                                                         

States v. Marder, 48 F.3d 564 (1st Cir.) (illegal structuring
                            

case),  cert.  denied,  115  S.  Ct.  1441  (1995),  where we
                                 

indicated that  defendant Marder's failure  to object to  a  

5322  willfulness  instruction  given  prior to  Ratzlaf  was
                                                                    

inexcusable.  Id.  at 572 n.5.   Marder is not  on-point, and
                                                   

the government's argument is not persuasive.

          As an initial matter, Marder's trial occurred prior

to our decision  in Aversa.   Thus,  the compelling  scenario
                                      

presented here -- instructions  mirroring exactly the holding

of  a recent en banc opinion of the controlling circuit court
                                

--  did not exist in  that case.   More importantly, however,

Marder's   trial   judge,   without  objection,   erroneously

instructed the jury in  accordance with the law in  the other

circuits  (i.e., that knowledge of the reporting requirements

                             -32-
                                          32


was all that  was needed  to establish  willfulness under  31

U.S.C.   5322) despite (1) the existence of authority in this
                                                                         

circuit indicating that knowledge of illegality was necessary

to establish willfulness under   5322, see Marder, 48 F.3d at
                                                             

572 n.5 (citing Bank of New  England, 821 F.2d 844, 854  (1st
                                                

Cir.), cert. denied 484 U.S. 943 (1987))); and (2) our recent
                               

withdrawal of an  on-point panel opinion and decision to hear

the  Aversa  case  en  banc,  see  id.    In  view  of  these
                                                  

circumstances, which  should have  put Marder on  notice that

  5322's  willfulness criterion for illegal structuring might

imply  something  more   than  knowledge  of   the  reporting

requirements,  we  deemed  inexcusable  Marder's  failure  to

object to  the defective  instructions.   Id.   We  therefore
                                                         

reviewed the instructions only for plain error.  Id.
                                                                

          The situation  presented in  this case is  in stark

contrast to that in Marder.  As we have explained, the law of
                                      

this circuit was settled by nothing less  than a newly-minted

en  banc  opinion  at the  time  the  trial  judge instructed
                    

London's  jury.  This fact alone goes  a long way, if not the

whole  way,  towards  excusing London's  failure  to  object.

Moreover, at this same time, all eleven circuits had at least

implicitly  indicated  that  a  reckless disregard  of  legal

duties  regarding  the  filing  of  CTRs  was  sufficient  to

establish  willfulness under 31 U.S.C.    5322.  See Ratzlaf,
                                                                        

114 S. Ct.  at 665 n.3  (Blackmun, J., dissenting)  (pointing

                             -33-
                                          33


out the  near-uniformity in the circuits  that mere knowledge

of   the  reporting  requirements   is  enough  to  establish

willfulness under    5322, and  stating "[t]he only  Court of

Appeals  to  adopt a  contrary  interpretation  is the  First

Circuit,  and even  that court  allows reckless  disregard of

one's legal  duty to  support a conviction  for structuring")

(citation    and    internal   quotation    marks   omitted).

Consequently,  if  we conclude  that Ratzlaf  implicitly held
                                                        

that  a reckless  disregard of  one's legal duties  under the

reporting requirements is not enough to establish willfulness

under   5322,  such a holding would be precisely  the type of

unanticipated,  "out of  the  blue" Supreme  Court ruling  we

alluded  to  in Weiner.   We  therefore  must proceed  to our
                                  

interpretation of the scope of Ratzlaf.
                                                  

          In Ratzlaf the trial court instructed the jury that
                                

it  could convict  even  if it  found  the defendant  had  no

knowledge of the anti-structuring  statute but acted with the

purpose of circumventing a  bank's reporting obligation.  The

Court stated:

          We    hold    that   the    "willfulness"
          requirement mandates something more.   To
          establish  that  a  defendant  "willfully
          violated"  the  antistructuring law,  the
          Government must prove that  the defendant
          acted with knowledge that his conduct was
          unlawful.

114 S. Ct. at 656.

                             -34-
                                          34


          In  Aversa,  an  en  banc decision,  we  held  that
                                

"reckless disregard"  of  the law  satisfied the  willfulness

requirements of  the structuring statute.   984 F.2d  at 502.

In  light of Ratzlaf, Aversa remains law in this circuit only
                                        

if  reckless disregard  falls  within  Ratzlaf's  concept  of
                                                          

"knowledge."

          As we  survey post-Ratzlaf law in  the circuits, we
                                                

find  one circuit which  has adopted the  standard of "actual

knowledge."  United States  v. Retos, 25 F.3d 1220,  1230 (3d
                                                

Cir. 1994).  Other circuits -- none of whom, pre-Ratzlaf, had
                                                                    

required  any knowledge  of structuring  laws --  have simply

echoed  Ratzlaf's requirement  of  "knowledge."   We are  not
                           

helped by  these decisions, for we face  a different problem:

having previously articulated a  standard which posed what we

deemed essentially an  equivalent to "knowledge," and  which,

while  recognized  in  Ratzlaf,  was  neither   embraced  nor
                                          

disavowed, shall we proclaim it now alive or dead?

          In short, when should  we apply the literal meaning

of  a word  used in  a Supreme  Court decision  to  a generic

circumstance that  was not  in controversy before  the Court?

We begin with the general advice of Chief Justice Marshall in

Cohens v. Virginia, 6 Wheaton (19 U.S.) 264, 399-400 (1821):
                              

               It   is   a   maxim,   not   to   be
          disregarded, that general expressions, in
          every  opinion,   are  to  be   taken  in
          connection  with the case  in which those
          expressions  are used.  If they go beyond
          the  case,  they  may be  respected,  but

                             -35-
                                          35


          ought not to  control the  judgment in  a
          subsequent  suit when  the very  point is
          presented for decision.

          An  application  of  this  maxim,  relevant  to the

instant case, occurred in  Armour &amp;amp; Co. v. Wantock,  323 U.S.
                                                              

126, 132-34  (1944), where,  notwithstanding a definition  of

"work"  in a prior Fair Labor Standards Act case as "physical
                                                                         

or  mental exertion  .  . .  controlled  or required  by  the
                               

employer," the  Court, through  Justice Jackson, held  that a

company's private firefighters' idle or recreational  time on

duty constituted working time.  Justice Jackson explained:

          [W]ords of our opinions are to be read in
          the light of the  facts of the case under
          discussion.    To  keep  opinions  within
          reasonable bounds  precludes writing into
          them every limitation or  variation which
          might be suggested  by the  circumstances
          of cases  not before the Court.   General
          expressions transposed to other facts are
          often misleading.  

Id. at 133;  see also Reiter v. Sonotone Corp., 442 U.S. 330,
                                                          

341 (1979) (refusal to limit "business or  property," as used

in     4  of   Clayton  Act,  to  "commercial  interests   or

enterprises," though so defined in prior Court opinion).

          These  and other  such  cases  reflect the  Court's

acknowledgement  that "[p]rudence  also  dictates awaiting  a

case in which the issue was fully litigated below, so that we

will have  the benefit of  developed arguments on  both sides

and lower  court opinions squarely  addressing the question."

Yee v. Escondido,  503 U.S.  519, 538 (1992).   Our  position
                            

                             -36-
                                          36


naturally follows:  "[W]e do not  normally take Supreme Court

opinions to  contain holdings  on matters the  Court did  not

discuss  and which,  presumably, the  parties did  not argue.

Sweeney  v. Westvaco  Co., 926  F.2d 29,  40 (1st  Cir. 1991)
                                     

(Breyer, C.J.) (citing Cousins v. Secretary of the U.S. Dep't
                                                                         

of Transp., 880 F.2d  603, 608 (1st Cir. 1989) (en banc)).
                      

          We  therefore adopt  a restrained  role.   While we

might, if  writing  on a  clean slate,  accept the  narrowest

interpretation  of "knowledge," we  will not  easily conclude

that the Court has  rejected our prior decision  by ambiguous

inference  or opaque implication.   We would  require a clear

signal.

          We now  look for  signals.   The  case for  "actual

knowledge"   is  the   word  itself   --  expressing   direct

acquaintance  with a fact.  This has the virtue of simplicity

in formulating instructions  to a  jury.  We  note, too,  the

fact  that the prosecution  in our  case conceded  error, but

this does not relieve us of  our obligation to make a de novo

decision.  We do take cognizance that in Ratzlaf, the Court's
                                                            

references to Aversa  were on points other than  the equation
                                

of reckless disregard and knowledge-willfulness.  And we also

take  note  of  the  majority's  failure  to  respond  to the

dissent's  charge  that  the  Court's  decision repealed  the

"reckless disregard" standard of Aversa.
                                                   

                             -37-
                                          37


          Looking  for contrary  indications, we  note first,

that  the  referent   used  most  often  by  the   Court  was

"knowledge."   "Actual  knowledge" was  used by  the majority

only  once,  in a  parenthetical  reference to  a  1980 Fifth

Circuit case.   114  S. Ct. at  660 (citing United  States v.
                                                                      

Warren, 612 F.2d  887 (5th Cir. 1980)).   On the other  hand,
                  

Ratzlaf  cites to a number of other cases requiring less than
                   

actual knowledge.  See, e.g., id. (citing cases demonstrating
                                             

the use of reasonable inferences to find knowledge).

          Moreover, we find  a generally favorable  reference

to  Aversa  as  the  only  case  opposed  to  a  no-knowledge
                      

requirement   -- and, while  a footnote quoted  our "reckless

disregard"  standard along  with  "knowledge,"  there was  no

adverse comment or caveat.  See id.  We do not ascribe to the
                                               

majority's  failure to take up the  gauntlet on the dissent's

thrust on Aversa as deliberate decision making.
                            

          But beyond comments in  the Court's opinion, we are

mindful of  the wider scope given  definitions of "knowledge"

in  cases and statutes.   For example, the  cases applying 18

U.S.C.    656 (bank  officer who "willfully  misapplies" bank

funds) have  generally held  reckless disregard  to establish

the requisite intent to defraud.1  These holdings come  close

                    
                                

1.  We have  so held in United  States v. Cyr, 712  F.2d 729,
                                                         
732 (1st Cir. 1983), and in United States v. Fusaro, 708 F.2d
                                                               
17,  21 (1st  Cir. 1983).   Other  circuits equate  intent to
injure  the  bank  with  reckless  disregard  of  the  bank's
interest.   See, e.g., United States v. Hoffman, 918 F.2d 44,
                                                           

                             -38-
                                          38


to  equating,  if  not  precisely  doing  so,  knowledge  and

reckless disregard.  We  can make the same comment  about the

Supreme Court precedents equating the two concepts in various

federal statutes.   See McLaughlin v. Richland  Shoe Co., 486
                                                                   

U.S.  128,  133  (1988)   ("willfulness"  under  Fair   Labor

Standards Act means defendant "either knew or showed reckless

disregard  for   the  matter  of  whether   its  conduct  was

prohibited by the statute"); Transworld Airlines v. Thurston,
                                                                        

469  U.S.   111,   126  (1985)   ("willfulness"   under   Age

Discrimination in Employment  Act; same definition  applied);

United  States   v.  Murdock,   290  U.S.  389,   395  (1933)
                                        

("willfulness" under the Revenue Acts of 1926 and 1928, which

prohibited  a  "willful" failure  to  pay  a particular  tax,

included "careless disregard  [for] whether or not  one has a

right so to act.")

          In  the context  of  the False  Statements Act,  18

U.S.C.     1001,  a  false  statement  is made  knowingly  if

defendant demonstrated  a reckless  disregard  of the  truth,

with a conscious purpose to avoid learning the truth.  United
                                                                         

States v. White, 765 F.2d 1469, 1482 (11th Cir. 1985); United
                                                                         

States  v. Evans,  559  F.2d 244,  246  (5th Cir.  1977).   A
                            

statutory  equating  of knowledge  and reckless  disregard is

found in the  definitions contained in the  False Claims Act,

                    
                                

46 (6th Cir. 1990);  United States v. Hansen, 701  F.2d 1215,
                                                        
1218 (7th Cir. 1983); United States v. Thomas, 610 F.2d 1166,
                                                         
1174 (3d Cir. 1979).

                             -39-
                                          39


31 U.S.C.   3729,  which prohibits  "knowingly" presenting  a

false or  fraudulent claim  to the United  States Government.

The  definitions  of "knowing"  and  "knowingly"  apply to  a

person who,  with respect  to information, "acts  in reckless

disregard  of the truth or falsity of the information, and no

proof  of specific intent to defraud is required."  31 U.S.C.

  3729(b)(3).

          There are also state cases  involving fraud actions

where knowledge  of falsity is equated  with "utter disregard

and recklessness."  Singh v. Singh, 611 N.E.2d 347, 350 (Ohio
                                              

App. 1992); see  also James  v. Goldberg, 261  A.2d 753,  758                                                    

(Md. 1970)("reckless indifference" can impute knowledge).

          Beyond these instances of the elastic boundaries of

"knowledge,"  we are  sensible of  the practical  problems of

drawing too  fine a line.   We have accepted the  fact that a

jury  "could  infer  knowledge  if  a  defendant  consciously

avoided learning  about the reporting  requirements."  United
                                                                         

States v. Bank  of New England, N.A., 821  F.2d 844, 855 (1st
                                                

Cir.  1987) also cited with approval in Ratzlaf, 114 S.Ct. at
                                                           

663 n.19.   But reckless disregard also, as  the instructions

in this case  stated, "involves the conscious  disregard of a

substantial  risk."  To this  the court below  added that the

jury "may consider the frequency with which the defendant was

involved in transactions which  might be reportable . .  . ."

When we carefully scrutinize these instructions and note that

                             -40-
                                          40


not  merely  the concept  of  recklessness  is involved,  but

reckless disregard, we must acknowledge that the instructions

require  some  kind  of an  awareness  of  law  which is  not

casually or negligently but recklessly disregarded.

          So,  while  we  sympathize  with  those  who  would

interpret Ratzlaf  as requiring  actual knowledge, we  do not
                             

see such a clear  signal as would  cause us to pronounce  the

demise  of  Aversa.    We  hold  that  the  district  court's
                              

instruction  was a  correct  application of  Aversa, and  not
                                                               

error under Ratzlaf.
                               

We, therefore,  affirm London's  convictions  for failing  to

file CTRs.

D.   Sufficiency of the  Evidence as to  the Money Laundering
            D.   Sufficiency of the  Evidence as to  the Money Laundering
                                                                         

and
            and
               
RICO Counts
            RICO Counts
                       

          London asserts that there was insufficient evidence

to support  his money laundering  and RICO convictions.   His

sufficiency  arguments   are  threefold:     (1)   there  was

insufficient evidence that he laundered money with the intent

to  promote  illegal  gambling;  (2)  there was  insufficient

evidence that  the enterprise  alleged in the  indictment was

cognizable   under  RICO;  and  (3)  there  was  insufficient

evidence  of a  nexus  between the  RICO  enterprise and  the

racketeering acts  involving extortion and the  collection of

illegal debts.  Our  review of the record persuades us that a

rational jury drawing  reasonable inferences could have  made

                             -41-
                                          41


the  challenged findings  beyond  a reasonable  doubt.   See,
                                                                        

e.g.,   United States v.  Tuesta-Toro, 29 F.3d  771, 776 (1st
                                                 

Cir. 1994) (setting forth  standard of review for sufficiency

challenges), cert. denied, 115 S. Ct. 947 (1995).
                                     

          1.  Money Laundering
                      1.  Money Laundering
                                          

          The money laundering statute under which London was

convicted  subjects  to  criminal   sanctions  "[w]ho[m]ever,

knowing that the property involved in a financial transaction

represents the  proceeds of  some form of  unlawful activity,

conducts or attempts to  conduct such a financial transaction

which  in fact  involves the  proceeds of  specified unlawful

activity . . . with the  intent to promote the carrying on of
                                                                         

[the]  specified unlawful  activity."   18  U.S.C.    1956(a)
                                               

(1)(A)(i)  (emphasis added).   Seizing  upon the  highlighted

language,  London   contends  that  there   was  insufficient

evidence that he conducted his check-cashing business with an

intent to promote the  unspecified unlawful activity at issue

-- i.e., illegal gambling.  We disagree.

          There  was overwhelming evidence that London failed

to file CTRs prior to the December 17, 1986, execution of the

search  warrant at Heller's, and that London was aware of the

reporting requirements  during the period in  which he failed

to  file  CTRs.    There  also  was  evidence  that  London's

unorthodox  operating  procedures  benefitted  his  bookmaker

customers.   Finally,  there  was evidence  that London  made

                             -42-
                                          42


money with every check  he cashed.  Thus, there  was evidence

that London knowingly operated  his business in an unorthodox

manner  that  benefitted  both  his  bookmaker  customers and

(derivatively) himself.  In our view, this evidence of mutual

interest is more than sufficient to sustain an inference that

London operated his check-cashing business with the intent to

promote the  illegal gambling businesses operated  by certain

of his customers.

          We  therefore reject  London's argument  that there

was  insufficient evidence  to  support his  money laundering

convictions.

          2.  The Enterprise
                      2.  The Enterprise
                                        

          The  RICO statute  prohibits  one  "employed by  or

associated  with"  a  statutorily-defined  "enterprise"  from

conducting  the  enterprise's affairs  "through a  pattern of

racketeering activity  or collection  of unlawful debt."   18

U.S.C.   1962(c).  The  enterprise alleged in the  indictment

was  an  association  between  London's  Cafe,  Inc.,  d/b/a/

Heller's   --  a  corporation  --  and  M   &amp;amp;  L  --  a  sole

proprietorship.     London   questions  whether   there   was

sufficient  evidence to  sustain a  finding that  the alleged

enterprise was cognizable under RICO, arguing that (1) a RICO

enterprise cannot  be an  association of legal  entities; (2)

the enterprise did not have a "common or shared purpose which

animates those associated with it" and did not "function as a

                             -43-
                                          43


continuing  unit" with  an "ascertainable  structure distinct

from   that  inherent  in   the  conduct  of   a  pattern  of

racketeering  activity," see  United  States v.  Bledsoe, 674
                                                                    

F.2d 647, 665 (8th  Cir.) (internal quotation marks omitted),

cert. denied,  459 U.S. 1040  (1982); and (3)  the enterprise
                        

was not distinct from  London himself.  We do not  find these

arguments convincing.

          London's first argument is legal.  The RICO statute

states  that the term  "`enterprise' includes any individual,

partnership, corporation, association, or other legal entity,

and  any union  or group  of  individuals associated  in fact

although  not a legal entity."   18 U.S.C.   1961(4).  London

contends that, under  a plain reading  of this provision,  an

association-in-fact RICO  enterprise such as the  one alleged

here  must  be  an  association of  individuals,  and  cannot
                                                           

include legal entities.  

          London's argument has been addressed to a number of

circuit  courts, and each has rejected it.  See, e.g., United
                                                                         

States v. Console,  13 F.3d  641, 652 (3d  Cir. 1993),  cert.
                                                                         

denied,  114 S. Ct. 1660 (1994); United States v. Blinder, 10
                                                                     

F.3d  1468, 1473 (9th Cir.  1993); Atlas Pile  Driving Co. v.
                                                                      

DiCon Fin. Co., 886 F.2d 986, 995 n.7 (8th Cir. 1989); United
                                                                         

States v. Perholtz,  842 F.2d 343, 352-53  (D.C. Cir.), cert.
                                                                         

denied,  488 U.S.  821  (1988).   And we  recently indicated,
                  

without explicitly considering the issue, that an association

                             -44-
                                          44


between two legal entities and two individuals can constitute

a RICO enterprise.  See  Libertad v. Welch, 53 F.3d  428, 444                                                      

(1st Cir. 1995).   Today we make explicit what  we implied in

Libertad: two  or more legal entities can  form or be part of
                                                     

an  association-in-fact   RICO  enterprise.    We  think  the

Perholtz panel explained why rather well:
                    

          [RICO] defines  "enterprise" as including
                                                               
          the various entities specified;  the list
          of   entities   is   not   meant   to  be
          exhaustive.    "There  is no  restriction
          upon  the  associations  embraced by  the
          definition  . . .  ."   United States  v.
                                                           
          Turkette, 452  U.S. 576, 580  (1981).  On
                              
          the contrary, Congress has  instructed us
          to  construe  RICO "liberally  .  . .  to
          effectuate its remedial purposes."   Pub.
          L.  91-452,   904(a),  84 Stat.  922, 947
          (1970)  (reprinted  in note  following 18
                                                            
          U.S.C.   1961), quoted  in Turkette,  452
                                                         
          U.S. at  587; accord Sedima,  S.P.R.L. v.
                                                            
          Imrex  Co., 473 U.S.  479, 497-98 (1985).
                                
          [The]  restrictive interpretation  of the
          definition of enterprise would contravene
          this principle of statutory construction.
               [The restrictive] reading of section
          1961(4) [also] would  lead to the bizarre
          result that only criminals who  failed to
          form  corporate  shells   to  aid   their
          illicit schemes could be reached by RICO.
          The  interpretation  hardly accords  with
          Congress'  remedial  purposes: to  design
          RICO    as    a   weapon    against   the
          sophisticated racketeer as  well as  (and
          perhaps more than) the artless.

842 F.2d at 343.

          We  therefore  reject  London's  argument  that  an

association-in-fact  RICO enterprise  cannot be  comprised of

legal entities.

                             -45-
                                          45


          London's second argument presumes that this circuit

has adopted the test established in Bledsoe, 674 F.2d at 665,
                                                       

and set forth above.  See supra at 40-41.  We have not and do
                                           

not  do  so today,  because even  if  we assume  arguendo the
                                                                     

test's applicability,  there was ample evidence  for the jury

to have found that its requirements were met.

          The  jury could have found  that there was a common

or shared  purpose animating both the  enterprise and London:

doing  commerce with (and  thereby profiting from) bookmakers

engaged  in illegal gambling.  The evidence that London as an

individual pursued such a scheme is overwhelming and does not

need  repeating.   Moreover,  M &amp;amp;  L  and Heller's  were  the

principal means by  which London effectuated  his plan.   The

jury reasonably found that London used  M &amp;amp; L to launder (for

a profit) the proceeds of illegal gambling for  his bookmaker

customers,  and could  have found  that he  used  the privacy

afforded by Heller's to shield M &amp;amp;  L from close scrutiny, to

arrange meetings between Ferrara and his bookmaker customers,

and to collect "rent" for Ferrara.

          The jury also could  have found that the enterprise

functioned  as a  continuing  unit and  had an  ascertainable

structure  distinct from  that inherent in  the conduct  of a

pattern  of racketeering activity.  As to the latter of these

two requirements, M &amp;amp; L and Heller's were legitimate entities

that did a significant amount of business completely separate

                             -46-
                                          46


from the pattern  of racketeering activity  at issue in  this

case.  Heller's was a bar where drinks and food were sold. 

M  &amp;amp;  L was  a check-cashing  business  -- located  inside of

Heller's and operated by the same individual who ran Heller's

--  that  cashed checks  for customers  willing  to pay  it a

commission.   As to  the former  requirement, the jury  could

reasonably  have surmised that M &amp;amp; L and Heller's operated as

a symbiotic unit (M &amp;amp; L  providing a ready source of cash for

Heller's customers;  Heller's customers taking advantage of 

M  &amp;amp; L's  convenience), and  that they  existed for  a common

purpose:  the economic gain of London.

          We  therefore reject  London's  argument  that  the

Bledsoe standard has not been met in this case.
                   

          London's third argument derives from  the fact that

"[w]e have consistently interpreted [RICO's] requirement that

a  culpable person be  `employed by  or associated  with' the

RICO  enterprise as  meaning that  the same entity  cannot do

double  duty  as  both  the  RICO   defendant  and  the  RICO

enterprise."  Miranda  v. Ponce  Fed. Bank, 948  F.2d 41,  44                                                      

(1st Cir. 1991) (quoting  18 U.S.C.   1962(c)).   He contends

that he, the  defendant named in  the indictment, is  legally

indistinguishable from M &amp;amp; L and Heller's.  

          His argument overlooks the fact that M &amp;amp;  L, though

a  sole proprietorship, had at  least one employee other than

                             -47-
                                          47


himself, and the fact that Heller's  was incorporated and had

several employees other than himself.  No more is required to

establish the separateness required by RICO.  As Judge Posner

explained in responding to a similar argument:

          If the one-man band incorporates, it gets
          some legal protections from the corporate
          form, such  as limited liability;  and it
          is  just this  sort  of legal  shield for
          illegal  activity  that  RICO   tries  to
          pierce.   A one-man  band  that does  not
          incorporate,  that  merely operates  as a
          proprietorship,     gains     no    legal
          protections from the form in which it has
          chosen to  do business;  the man  and the
          proprietorship really are the same entity
          in  law and  fact.   But  if the  man has
          employees  or associates,  the enterprise
          is distinct from  him, and it then  makes
          no difference, so far as we can see, what
          legal form  the  enterprise takes.    The
          only important thing is that it be either
          formally (as when there is incorporation)
          or practically (as when there  are people
          besides  the  proprietor  working in  the
          organization)    separable    from    the
          individual.

McCullough v. Suter, 757 F.2d 142, 144 (7th Cir. 1985).
                               

          We therefore  reject London's argument that  he and

the  RICO enterprise  alleged in  the indictment  are legally

indistinguishable.            

                             -48-
                                          48


          3.  Nexus between Enterprise and Racketeering Acts
                      3.  Nexus between Enterprise and Racketeering Acts
                                                                        
          Involving Extortion  and the Collection  of Illegal
                      Involving Extortion  and the Collection  of Illegal
                                                                         
          Debt
                      Debt
                          

          London's final argument is  that there was no nexus

between  the enterprise  and the racketeering  acts involving

extortion and  the collection  of illegal  debt, and  that we

therefore must set his  RICO convictions aside.  We  need not

and do  not reach  this argument.   As we  have pointed  out,

London's RICO convictions are sustainable  so long as we  can

tell with certainty that the jury found that he committed two

sufficient predicate acts.  See supra at 39 (quoting Angiulo,
                                                                        

897 F.2d at  1198).   Here, the jury  sustainably found  that

London committed numerous predicate acts of money laundering.

Thus,  even if there were no nexus between the enterprise and

the racketeering acts involving  extortion and the collection

of illegal debt (an issue on which we express no opinion), we

would sustain London's RICO convictions.

                             III.
                                         III.
                                             

          For   the  reasons  stated,  the  judgment  of  the

district court is affirmed.
                              affirmed
                                      

                             -49-
                                          49

